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        &lt;div&gt;&lt;header&gt;&lt;p id="Page" data-paragraph-id="35c0804c86"&gt; 1 &lt;/p&gt;&lt;center&gt;&lt;b&gt;&lt;/b&gt;&lt;p data-paragraph-id="9337917b81"&gt;2024 CO 38&lt;/p&gt;&lt;p data-paragraph-id="1dd1d1c4f5"&gt;&lt;span data-sentence-id="fb777825e8" quote="false" data-paragraph-id="1dd1d1c4f5"&gt; In Re Ann Jordan; Bruce Howard Brown; David Gutierrez; Amber Tuffield; Geraldine Valdez; Martha Ann Ratzloff; Daniel Ratzloff; Bradley Schaak; Cindy Fuhrmann; Kenneth Noble, in his individual capacity and on behalf of decedent Kay Noble; Cynthia Bauman; Susan Kaberline; and Blake Richard Darnell, Plaintiffs: &lt;br /&gt; v.&lt;/span&gt;&lt;span data-sentence-id="4d108d85b3" quote="false" data-paragraph-id="1dd1d1c4f5"&gt; &lt;br /&gt; Terumo BCT, Inc.; Terumo BCT Sterilization Services, Inc.; and John Does 1-20.&lt;/span&gt; Defendants &lt;/p&gt;&lt;p data-paragraph-id="31922b014f"&gt;No. 24SA34&lt;/p&gt;&lt;p data-paragraph-id="2fefc1cee8"&gt;&lt;span data-sentence-id="2fefc1cee8" quote="false" data-paragraph-id="2fefc1cee8"&gt;Supreme Court of Colorado, En Banc&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="ca853be1b1"&gt;July 1, 2024&lt;/p&gt;&lt;/center&gt;&lt;/header&gt;&lt;br /&gt;&lt;!--OPINION TEXT STARTS HERE--&gt;
 &lt;p id="AppealLine" data-paragraph-id="b7f6779577"&gt;&lt;span data-sentence-id="e298a42654" quote="false" data-paragraph-id="b7f6779577"&gt; Original Proceeding Pursuant to C.A.R.21 Jefferson County District Court Case Nos. 20CV31457 &amp;amp; 20CV31481 Honorable LindsayL.&lt;/span&gt; VanGilder, Judge &lt;/p&gt;
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 &lt;p data-paragraph-id="b9a7d745fa"&gt;&lt;span data-sentence-id="372a74881b" quote="false" data-paragraph-id="b9a7d745fa"&gt; Petition for Rehearing DENIED.&lt;/span&gt; &lt;/p&gt;&lt;/div&gt;
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